Case 24-50792-hlb Doc 1280 Entered 12/20/24 13:33:23 Page 1 of 4
NVB 3001 (Rev. 12/24)
UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF NEVADA 2ii010) 0

Name of Debtor: Case Number:
Meta Materials Lac 24. 5097942-h\b

1. Name and address of holder of the Equity Interest
(the person or entity holding an Equity Interest in the

. oe “ai . $< . anyone else has filed a proof of .

Debtor. Referred to hereinafter as the “Interest interest relating to your interest. RECEIVED

holder”): Attach copy of statement giving AND FILED
UO (ourvh_-@ Maye particulars. DEC 19.29
\LosS O'shear Castle vc fi Check box if you have never : ah

O Check box if you are aware that

received any notices from the .S. BANKRUPT
C\Vos Lott | NC ) 7% LTS bankruptcy court or the Debtors MARY A. SCHOTT Gy Pen
in this case. peeps
Telephone Number:

(i Check box if this address
differs from the address on the

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De ney me COURT USE ONLY

NOTE: This form SHOULD NOT be used to make a claim against.the Debtor for. money owed. A separate Proof.of Claim
form should be used for that purpose. This form should only be used to.assert an Equity Interest in the Debtor. An Equity
Interest is any. right arising from any. capital stock and.any equity security in any of the Debtor. An equity security is defined
in the Bankruptcy Code as (a) a'share in a corporation whether or not transferable or denominated stock or similar
security, (b) interest of a limited partner in a limited partnership, or (c) warrant.or right other than a right to convert, to: -
purchase, sell, or subscribe.to a share, security, or interest of-a kind specified in subsection (a) or.(b) herein.

Account or other number by which Interest holder identifies Debtor (last 4 | Check here if this Proof of Interest:
digits only): 0 replaces a previously filed Proof of Interest dated:
O WS lo CO amends a previously filed Proof of Interest dated:

2. Name and Address of any person or entity that is the record 3. Date Equity Interest was acquired:

holder for the Equity Interest asserted in this Proof of 10 Is /Love ~ ZOD Gres @ 1.75 .

Interest: Webo \) /Atex Cheers nS Pot z-Uees owned oa gre ‘Zavese SP

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Telephone Number: 484) $72%- Olo\6 No 72023 Tax Ole Pvc by No Sod
4. Total amount of member interest: 6% Shores 5. Certificate number(s):

6. Type of Equity Interest:
Please indicate the type of Equity Interest you hold:
4 Check this box if your Equity Interest is based on an actual member interest held in the Debtor.
O Check this box if your Equity Interest is based on anything else and describe that interest:

Description:

7, Supporting Documents: Attach copies of supporting documents, such as stock certificates, option agreements, warrants, etc.
DO NOT SEND ORIGINAL DOCUMENTS. If the documents are not available, explain. If the documents are voluminous, attach a summary.

8. Date-Stamped Copy: To receive an acknowledgement of the filing of your Proof of Interest, enclose a stamped, self-addressed envelope and
copy of this Proof of Interest.

9. Signature:
Check the appropriate box.

“A 1am the interest holder. (1 1 am the interest holder’s authorized agent. | 1 am the trustee, or the debtor, (1 1am a guarantor, surety,
(Attach copy of power of attorney, ifany.) or their authorized agent. endorser, or other
(See Bankruptcy Rule 3004.) codebtor.

(see Bankruptcy Rule 3005.)

I declare under penalty of perjury that the information provided in this proof of interest is true and correct to the best of my knowledge, information, and reasonable belief.

4 t «
Print Name: Will (Our Lo WM"
Title: ‘Y .
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Company:__. Address and telephone number (if different from notice | 2-135 Tar {

address above): (Signature) Ce (Date)
Telephone number: 6S | 4 <3 - 34S 4 email: ayml oMo 4 vo. \, oh

Penalty for presenting fraudulent claim is a fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 AND 3571

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Apex Clearing Proceeds from Broker and Barter Exchange Transactions 2022 Form 1099-B*

5NG70636 (continued) 02/09/2023 OMB No. 1545-0715

SHORT-TERM TRANSACTIONS FOR COVERED TAX LOTS

Report on Form 8949, Part | with Box A checked.

Box 2: Type of Gain or Loss - Short-term (unless indicated as Ordinary in Additional Notes Column)
Box 5: Box Not Checked (Covered Security) Box 6: Gross (unless indicated as Net in Additional Notes Column) Box 12: Basis Reported to the IRS

The 1099-B data referenced by a Box Number is reported to the IRS. The additional information not referenced by a Box Number is not reported to the IRS but may be
héipful to complete your return.

12-- Description of property | CUSIP | Symbol

1f - Accrued Market
Discount (M) &

oO

fe! - DateSold or Cost or 1g - Wash Sale Loss

Disposed Quantity 1d - Proceeds Date Acquired Other Basis Disallowed (D) Gain or Loss (-) Additional Notes
DENISON MINES CORP | CUSIP: 248356107 | Symbol: DNN
2022-09-15 335.000000 462.24 2022-03-03 502.50 0.00 -40.26
MALLEN AUTOMOTIVE INC COMMON STOCK | CUSIP: 62526P109 | Symbol: MULN

—
2822-12-15 802.000000 295.11 2022-12-15 304.76 0.00 -9.65
META MATLS INC COMMON STOCK | CUSIP: 59134N104 | Symbol: MMAT
29)2-10-13 839.000000 975.78 2022-10-13 1,003.95 30.89 D -28.17
AMC ENTERTAINMENT HOLDINGS INC AMC PRFRD EQTY UNTS ECH CNSTNG OF DPSTRY SHR RPRS | CUSIP: 00165C203 | Symbol: APE
2632-10-13 1.000000 1.57 2022-08-22 9.11 0.00 -7,.54
Teétals: 3,332.17 3,836.18 -504.01

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* This is important tax information and is being furnished to the Internal Revenue Service. If you are required to file a return, a negligence penalty or other sanction may be imposed on you if this income is taxable and the IRS determines that it

has not been reported. Taxpayers are reminded that they are ultimately responsible for the accuracy of their tax returns.
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33:

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OPEN POSITIONS

Equities & Options

Symbol / / / Cusip / / Quantity / / Muttl / / Closing Price Amount
AMC . / 001 65C302 / _ 61 a a 4.95 301.95
BNGO Wn 99078805 co 89 1 0.2556 9.97
COSM / 221413305 ee / 58 / 1 . . 0.7990 46.34
MMATQ - / 59134N302 / 68 1 . 9.061 0 4.15
SENS / - / 81 727U108 186 1 0.3114 57.92
ZOM / 98980M1 09 39 41 0.1280 4.99
NOTES

KEY DEFINITIONS AND TERMS

14. Accrued Dividends: The pending dividend section includes unpaid cash dividends that the shareholder is entitled to receive but have not been distributed in the statement period. Most often due to the declared payment date being in the future outside of
the statement period.
2. Accrued Balance: Interest is charged monthly, so this section will be the total interest incurred by the user in the statement period, rather than the portion of the interest charged. Additional detail provided in the important information section below.
3. Trades (Sold): Cash from selling securities.
4. Trades (Bought): Gash spent on buying securities.
5. Muttiplier(Mult): in an individual stock option, the value of the contract is expressed as the product of a certain monetary amount and the underlying index. The certain monetary amount is fixed by the contract, which is referred to as the contract
multiplier. At present, the stock is 1 by default and the individual stock option is 100.
6. Closing Price: Last traded price on the last trading date of the month. Note, closing prices are indicative and may be from third-party sources. Webull does not warrant the accuracy of the prices provided by third-party sources.
7. The sum of Exchange-related fees, transaction-related fees, stamp duty, withholding tax, contract fees, commissions, or other fees or taxes.
8. Webull does not charge any fees for currency exchanges. Exchange rate is prone to be impacted by the market exchange rates. Please take exchange rates on market as reference.
9. All transactions are based on a First-in, First-out (FIFO") method.
40. Trade Records: Displays all GTC (Good-Till-Cancelled) orders in your account. Also included in the section are GTX orders (GTC orders eligible for extended trading hours).
414. Account Types: C = Cash, M= Margin, S = Short, X= RVP/DVP, and O = Other
12. FPSL: The Apex Clearing Corporation Fully-Paid Securities Lending Program.
43. Market Value of Securities Held Long includes the market value of securities held in non-short account types (Le. Cash account, Margin account).
44. Market Value of Securities Held Short includes the market value of securities held in the short account type. Bona fide short positions will mark-to-market on a daily basis between the margin and short account types based on prevailing closing prices of
the security which was shorted.
45. Market Value of Fully-Paid Securities Loaned. The market value of the fully-paid securities you have loaned through participating in the Apex Clearing Corporation Fully-Paid Securities Lending Program.

46. Collateral Value and Loan Value. Collateral Value and Loan Value are related to the fully-paid securities lent by you under the FPSL program. Collateral Value is the amount of collateral (e.g. cash) held on your behalf through the program’s Trustee for
your benefit at a bank. Loan Value is the market value of the fully-p id securities you have loaned, subject to rounding convention, through participating in the FPSL. Program. See the Master Securities Lending Agreement for Apex Clearing Corporation

Fully-Paid Securities Lending Program for complete program details.

47. Portfolio Market Value. The sum of the cash in your account (i.e. Total Cash Value), the securities in your account (i.e. Market Value of Securities in Your Account), and the market value of the fully-paid securities on loan (i.e. Market Value of Fully-Paid
Securities Loaned)

18. Payment in Lieu. Cash distributions paid on fuily-paid securities on loan in the Securities Lending Income Program will be credited to your Webull account in the form of a “cash-in-lieu” payment. Receipt of cash-in-lieu payments may have different
taxable consequences than receipt of the actual dividends from the issuer.

19. SIPC Cash Balance. Cash held in the brokerage account.

20. FDIC Cash Balance. Cash swept into Program Banks through the bank sweep program.

IMPORTANT INFORMATION

4. Webull carries your account on an omnibus basis with Apex Clearing Corporation, which acts as the clearing broker.
2. if there are any material changes regarding your contact information, investment objectives, or financial situation, advise Webull promptly by updating your information using the Webull platform or by contacting support@webull.us.

SofS
